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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                    MDL No. 2924
    PRODUCTS LIABILITY                                             20-MD-2924
    LITIGATION
                                                 JUDGE ROBIN L. ROSENBERG
                                        MAGISTRATE JUDGE BRUCE E. REINHART

    ________________________________/

    THIS DOCUMENT RELATES TO: ALL CASES




        BRAND-NAME MANUFACTURERS’ MOTION TO DISMISS INNOVATOR-
                  LIABILITY CLAIMS (COUNTS XII AND XIII)
             IN AMENDED MASTER PERSONAL INJURY COMPLAINT
                 AND INCORPORATED MEMORANDUM OF LAW




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           In the Court’s order dismissing the innovator-liability claims in the first Master Personal

    Injury Complaint (“MPIC”), the Court explained what users of generic ranitidine would have to

    allege to establish specific personal jurisdiction over the Brand-Name Manufacturers in California

    or Massachusetts, the only two states that recognize any form of innovator liability. First, Plaintiffs

    must allege that “Defendants’ activities in a particular state . . . were the ‘but-for’ cause of

    Plaintiffs’ ingestion of generic ranitidine products.” Dkt. 2516 at 20. Second, Plaintiffs must

    allege facts showing “that Defendants should have foreseen that their activities regarding their

    brand-name products . . . could expose them to liability for injuries sustained from the ingestion

    of generic ranitidine products.” Id.

           Plaintiffs’ Amended Master Personal Injury Complaint (“AMPIC”) meets neither

    requirement. The AMPIC includes new allegations relating to Brand-Name Manufacturers’ “sales

    and marketing activities” in California and Massachusetts, but Plaintiffs do not allege that any of

    those promotional activities were the “but-for” cause of any Plaintiff’s ingestion of generic

    ranitidine. See AMPIC ¶¶ 228–32. Plaintiffs also do not (and could not) allege that the Brand-

    Name Manufacturers should have foreseen that, by promoting their own products, they were

    exposing themselves to liability for defects in the products of generic competitors. Plaintiffs’

    highly attenuated theory of liability leaves them with no basis for specific jurisdiction over the

    Brand-Name Manufacturers in California or Massachusetts.             It follows that California and

    Massachusetts also lack legislative jurisdiction over the Brand-Name Manufacturers, and thus that

    a court with general jurisdiction over a Brand-Name Manufacturer could not apply California and

    Massachusetts law to Plaintiffs’ claims. In short, while California and Massachusetts may choose

    to adopt their own novel tort principles governing companies based there, due process forbids them
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    from applying those laws extraterritorially to hold the out-of-state Brand-Name Manufacturers

    liable for the sales of other companies’ products.

           The innovator-liability claims that Plaintiffs attempted to re-plead—Count XII (Negligent

    Misrepresentation) and Count XIII (Reckless Misrepresentation) of the AMPIC—are not viable in

    any forum, and the Court should dismiss them with prejudice from the MDL pursuant to Rule

    12(b)(2) and Rule 12(b)(6).

    I.     The Innovator-Liability Claims Brought Under California And Massachusetts Law
           Fail For Lack Of Personal Jurisdiction.

           A.      Plaintiffs’ “Judicial Admission” Assertions Are Meritless.

           Four of the five paragraphs Plaintiffs added to the AMPIC make no specific allegations

    about activities by the Brand-Name Manufacturers in California or Massachusetts. See AMPIC

    ¶¶ 228-231. Instead, Plaintiffs use this portion of the complaint to argue that, because the Brand-

    Name Manufacturers have made a “judicial admission” that they are subject to personal

    jurisdiction in California and Massachusetts in connection with their own products, they must also

    be subject to personal jurisdiction in connection with generic products they did not make or sell.

    Id. ¶ 231. Plaintiffs contend that, in both cases, the Brand-Name Manufacturers’ “sales and

    marketing activities” are the basis for personal jurisdiction. Id. Just as those activities “spur[red]

    consumption of branded Zantac in California and Massachusetts,” they supposedly also “spur[red]

    consumption of generic ranitidine.” Id. If the sales and marketing activities are sufficient to

    establish personal jurisdiction with respect to branded products, Plaintiffs reason, they are also

    sufficient for generic products.

           Plaintiffs misapprehend the basis for personal jurisdiction in a case where a consumer

    actually ingested a Brand-Name Manufacturer’s product. As in any traditional product-liability

    case, it is the sale of the allegedly defective product to the plaintiff that provides the basis for


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    personal jurisdiction in the plaintiff’s home state, not marketing activities that may or may not

    have influenced the plaintiff or her doctor.

           Plaintiffs suggest that the in-state sale is irrelevant, and thus the Brand-Name

    Manufacturers’ advertising is the true basis for specific jurisdiction, because “drug manufacturers

    do not directly sell their products to consumers,” but rather to “distributors, which sell them to

    retailers, pharmacies, or hospitals, which sell them to consumers.” AMPIC ¶ 230. That fact has

    no effect on personal jurisdiction.

           As the Brand-Name Manufacturers explained in the last round of briefing, Dkt. 2132 at 6,

    a state “does not exceed its powers under the Due Process Clause if it asserts personal jurisdiction

    over a corporation that delivers its products into the stream of commerce with the expectation that

    they will be purchased by consumers in the forum State.” World–Wide Volkswagen Corp. v.

    Woodson, 444 U.S. 286, 297–98 (1980). The use of third-party distributors does not present a

    jurisdictional obstacle, so long as the out-of-state defendant intended “to serve, directly or

    indirectly, the market for its product” in the forum state. Id. at 297. But this “stream of commerce”

    theory of jurisdiction applies when there is an expectation that the defendant’s product will be

    purchased in the forum. When that is true, advertising in the forum state can be relevant insofar

    as it demonstrates “the defendant intended to access the benefits of the forum’s marketplace” when

    it placed its product into the stream of commerce, but advertising is not an independent basis for

    jurisdiction. Knepfle v. J-Tech Corp., 419 F. Supp. 3d 1281, 1289 (M.D. Fla. 2019); see Daimler

    AG v. Bauman, 571 U.S. 117, 128 n.7 (2014) (noting that “specific jurisdiction may lie over a

    foreign defendant that places a product into the ‘stream of commerce’ while also . . . ‘advertising




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    in the forum State’”) (emphasis added) (quoting Asahi Metal Indus. Co. v. Sup. Ct. of Cal., Solano

    Cty., 480 U.S. 102, 112 (1987) (plurality opinion)).

           This “stream of commerce” theory of personal jurisdiction cannot apply in an innovator-

    liability context because the Brand-Name Manufacturers did not place the generic products that

    Plaintiffs consumed into the stream of commerce. Nor did the sale of competitors’ generic

    ranitidine give the Brand-Name Manufacturers “access [to] the benefits of the forum’s

    marketplace.”1 Knepfle, 419 F. Supp. 3d at 1289. Without a sale of a brand-name product in the

    forum state and the resulting commercial benefit to a Brand-Name Manufacturer, there cannot be

    any “‘tacit quid pro quo’ between the out-of-state resident and the forum” to support personal

    jurisdiction. Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1223 (11th Cir. 2009)

    (quoting O’Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 322 (3d Cir. 2007)).

           Plaintiffs’ innovator-liability claims in California and Massachusetts fail for lack of

    personal jurisdiction because they cannot allege the sine qua non of specific jurisdiction in a

    product-liability case—the defendant’s placement of the allegedly defective product into the

    stream of commerce. Plaintiffs’ sales and marketing allegations are simply not a recognized

    substitute for the stream-of-commerce doctrine, which looks to the flow of the specific product

    manufactured by the defendant into the state. See Daimler AG, 571 U.S. at 128 n.7. The Brand-

    Name Manufacturers’ efforts to sell their own products in California and Massachusetts cannot




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      The clear absence of personal jurisdiction in this context is a product of the divergence between
    a traditional product-liability claim and an innovator-liability claim. The act that forms the basis
    for specific jurisdiction in a traditional product-liability case—placing products into the stream of
    commerce with the intent that they reach the forum state—is absent in a case based on an
    innovator-liability theory. The unique and unprecedented feature of innovator liability is that it
    holds a defendant responsible for a product made and sold by another company—the very reason
    that only two states have recognized it.

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    subject them to jurisdiction in those states in connection with claims resulting from the ingestion

    of competing generic products from which they derive no benefit.

            B.      Plaintiffs Have Not Plausibly Alleged That The Brand-Name Manufacturers’
                    In-State Activities Were A But-For Cause Of Their Alleged Injuries.

            California and Massachusetts courts have jurisdiction to adjudicate Plaintiffs’ innovator-

    liability claims only if they “arise out of or relate to” actions that the Brand-Name Manufacturers

    took in or directed towards those states. Bristol–Myers Squibb Co. v. Sup. Ct. of Cal., 137 S. Ct.

    1773, 1780 (2017). The Eleventh Circuit has held that, for purposes of specific jurisdiction, “a

    tort ‘arises out of or relates to’ the defendant’s activity in a state only if the activity is a ‘but-for’

    cause of the tort.” Waite v. All Acquisition Corp., 901 F.3d 1307, 1314 (11th Cir. 2018) (quoting

    Oldfield, 558 F.3d at 1222–23) (alterations omitted). In this case, therefore, Plaintiffs must allege

    facts plausibly showing that specific activities by the Brand-Name Manufacturers in California

    and Massachusetts “were the ‘but-for’ cause of Plaintiffs’ ingestion of generic ranitidine products.”

    Dkt. 2516 at 20.

            Plaintiffs have not met this burden with their new allegations about the Brand-Name

    Manufacturers’ “sales and marketing activities” in California and Massachusetts. The AMPIC

    identifies seven categories of “sales and marketing activities” in which some of the Brand-Name

    Manufacturers allegedly engaged in California and Massachusetts: (1) maintaining salesforces in

    those states; (2) conducting market research; (3) contracting with social-media outreach firms;

    (4) organizing seminars and other forms of outreach to the medical profession; (5) advertising on

    television, radio, and in print; (6) contracting with retailers and wholesalers; and (7) “targeting”

    California’s Medicaid program. See AMPIC ¶ 232.

            None of these alleged promotional activities could plausibly be a “‘but-for’ cause of

    Plaintiffs’ ingestion of generic ranitidine products.” Dkt. 2516 at 20. The AMPIC contains no


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    factual allegations of how the Brand-Name Manufacturers’ marketing in California and

    Massachusetts caused Plaintiffs to take generic ranitidine or caused their doctors to prescribe it.

    That omission is fatal. A general allegation that an out-of-state defendant advertised in the forum

    state, without an allegation that the advertising influenced the plaintiff, cannot support specific

    jurisdiction. See Fraser v. Smith, 594 F.3d 842, 850–51 (11th Cir. 2010) (affirming dismissal for

    lack of personal jurisdiction because “if the [plaintiffs] were never exposed to [defendant’s]

    advertising in the United States, then its efforts to solicit business there could not have led to their

    injuries”).

            Plaintiffs’ attenuated theory of liability has created an insurmountable jurisdictional hurdle.

    Plaintiffs cannot rely on the Brand-Name Manufacturers’ manufacture and sale of the allegedly

    defective generic product—the obvious but-for cause of the alleged injury in any product-liability

    case—so they must rely on the Brand-Name Manufacturers’ sales and marketing activities as to

    their products. But Plaintiffs do not allege that any of these promotional activities actually reached

    them or their doctors, much less that the marketing made the difference between taking ranitidine

    or something else. Plaintiffs’ new marketing allegations would require this Court to make an

    unsupported inferential leap to find causation. A review of the AMPIC demonstrates that any

    plaintiff who has taken a generic product could make such boilerplate marketing allegations in any

    product-liability case, and that approach does not meet the Eleventh Circuit’s requirements. See

    Waite, 901 F.3d at 1314. For this reason as well, the Court should dismiss Plaintiffs’ innovator-

    liability claims for lack of personal jurisdiction.

            C.      Plaintiffs Have Not Plausibly Alleged That The Brand-Name Manufacturers
                    Should Have Foreseen Their In-State Activities Would Expose Them To
                    Liability For Injuries Resulting From Generic Ranitidine.

            Even if Plaintiffs could somehow attribute their ingestion of generic ranitidine to specific

    advertisements from a Brand-Name Manufacturer, that showing alone would not be sufficient.
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    Plaintiffs would also have to allege facts demonstrating that “the causal nexus between the tortious

    conduct and the purposeful contact must be such that the out-of-state resident will have ‘fair

    warning that a particular activity will subject [it] to the jurisdiction of a foreign sovereign.’”

    Oldfield, 558 F.3d at 1223 (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985)).

    In this case, as the Court has explained, Plaintiffs must allege “Defendants should have foreseen

    that their activities regarding their brand-name products . . . could expose them to liability for

    injuries sustained from the ingestion of generic ranitidine products.” Dkt. 2516 at 20.

           Defendants could not have foreseen that their efforts to promote their own products in

    California and Massachusetts would expose them to liability for injuries suffered by consumers of

    their competitors’ products. In assessing whether a defendant’s in-state activities made litigation

    in the forum reasonably foreseeable, the question is whether the activities gave rise to a “tacit quid

    pro quo” between the defendant and the forum. Oldfield, 558 F.3d at 1223 (quoting O’Connor,

    496 F.3d at 322). When a defendant does business in a state, it enjoys the benefits and protection

    of that state’s laws. “In return for these benefits and protections, a defendant must—as a quid pro

    quo—submit to the burdens of litigation in that forum.” Id. at 1221 n.30 (quoting Schwarzenegger

    v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004)).               When the Brand-Name

    Manufacturers sold and advertised their products in California and Massachusetts, they received

    the protection of those state’s laws and tacitly consented to the possibility of litigation in

    connection with their own products and advertisements. But the Brand-Name Manufacturers did

    not, by promoting their own products, consent to litigate claims brought by all users of ranitidine,

    no matter what company produced or sold the medication, for as long as it stayed on the market.

    The Brand-Name Manufacturers received no benefit from the sale and consumption of generic




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    ranitidine in California and Massachusetts, so the “quid pro quo” necessary to support specific

    jurisdiction is absent.2

            The Eleventh Circuit has held that in-state activities far more closely related to the alleged

    torts than the Brand-Name Manufacturers’ advertising were insufficient to support specific

    jurisdiction. In Oldfield, a tourist filed suit in Florida against a Costa Rican resort to recover for

    injuries he sustained on a chartered boat. 558 F.3d at 1214. The plaintiff argued that specific

    jurisdiction was appropriate because the defendant had made its website available in Florida,

    which was how the plaintiff learned about the resort and booked the trip. Id. at 1217. The Eleventh

    Circuit acknowledged that the website was a but-for cause of plaintiffs’ injuries because, if not for

    the website, the plaintiff “would not have gone to Costa Rica, boarded the fishing boat, and

    suffered an injury.” Id. at 1223. But the Eleventh Circuit held that this causal connection between

    the website and the tortious conduct at issue—the “negligence of the captain” who operated the

    boat—was “too remote to satisfy the relatedness requirement.” Id.

            The Eleventh Circuit addressed a similar case in Fraser v. Smith, in which the family of a

    tourist who died when a Caribbean tour boat exploded sued the foreign tour company for negligent

    maintenance. See 594 F.3d at 845. The tour company had purchased the boat in Florida and hired

    an agent of the Florida seller to repair the boat in the Turks & Caicos, but the Eleventh Circuit

    found those connections insufficient. Id. at 845, 851–52. The court acknowledged that “injuries

    arising from the [Florida mechanic’s] negligent repairs may have been foreseeable in some sense,”



    2
      The Brand-Name Manufacturers also could not have foreseen that their advertising would expose
    them to these suits because no court had recognized innovator liability until 2008. See T.H. v.
    Novartis Pharm. Corp., 407 P.3d 18, 29 (Cal. 2017) (noting that “the first case to recognize
    warning label liability” was Conte v. Wyeth, Inc., 168 Cal. App. 4th 89 (2008)). The California
    and Massachusetts high courts only endorsed some form of the theory as recently as 2017 and
    2018, respectively. See id.; Rafferty v. Merck & Co., 92 N.E.3d 1205 (Mass. 2018).

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    but nonetheless the court held the tour company could not have foreseen it was consenting to

    litigate in Florida any personal-injury suits resulting from the mechanic’s negligence. Id. at 851–

    52. Although the tour company’s contacts with Florida “may very well be constitutionally

    sufficient to establish specific jurisdiction over claims adequately related to those contacts,” they

    provided no support for “the unrelated tort claims of a third party.” Id.

           Oldfield and Fraser leave no doubt that California and Massachusetts lack personal

    jurisdiction over Plaintiffs’ innovator-liability claims. In those cases, because the plaintiffs’ claims

    concerned alleged negligent conduct out of state, the defendants’ independent contacts with the

    forum state were irrelevant. Here, Plaintiffs’ innovator-liability claims are based on the contents

    of the label of generic products, and all of the Brand-Name Manufacturers’ labeling decisions

    presumably took place at their headquarters in other states (certainly Plaintiffs do not allege

    otherwise).3 The only conduct in California and Massachusetts alleged by Plaintiffs—the Brand-

    Name Manufacturers’ promotion of their own products—had no effect on the allegedly deficient

    generic label on products that Plaintiffs ingested.

           Again, Plaintiffs’ attempt to close the jurisdictional gap opened by their expansive theory

    of liability falls short. A company marketing its own product cannot foresee that it will have to

    answer for defects in its competitors’ products. The Brand-Name Manufacturers’ advertising of

    Zantac in California and Massachusetts bears no legally significant relationship to the injuries



    3
      Even if the Brand-Name Manufacturers had made labeling decisions in California and
    Massachusetts, which Plaintiffs have not alleged, the Brand-Name Manufacturers still could not
    have foreseen that they would face liability in connection with generic products. The Brand-Name
    Manufacturers made labeling decisions for their own products; those decisions affected the generic
    label only through the operation of federal regulations. As the Sixth Circuit put it in In re Darvocet,
    Darvon & Propoxyphene Prod. Liab. Litig., “the generic consumers’ injuries are not the
    foreseeable result of the brand manufacturers’ conduct, but of the laws over which the brand
    manufacturers have no control.” 756 F.3d 917, 944 (6th Cir. 2014).

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    Plaintiffs allegedly suffered from generic ranitidine. The advertising, then, cannot support specific

    jurisdiction over Plaintiffs’ innovator-liability claims.

    II.    California And Massachusetts Lack Legislative Jurisdiction Over Plaintiffs’
           Innovator-Liability Claims.

           For the same reasons that California and Massachusetts courts cannot assert specific

    jurisdiction over Plaintiffs’ innovator-liability claims, California and Massachusetts law cannot

    apply in the courts of other states. The Due Process Clause prevents a state’s law from applying

    outside its borders unless there is “at least some minimal contact between [the] [s]tate and the

    regulated subject.” Am. Charities for Reasonable Fundraising Reg., Inc. v. Pinellas Cnty., 221 F.3d

    1211, 1216 (11th Cir. 2000) (quoting Hellenic Lines Ltd. v. Rhoditis, 398 U.S. 306, 314 n.2 (1970)

    (Harlan, J., dissenting)). Here, the “subject matter” that California and Massachusetts tort law purport

    to regulate is the Brand-Name Manufacturers’ decision-making regarding the label for Zantac, which

    affected these Plaintiffs only because federal law required generic ranitidine to have the same label.

    Gerling Global Reinsurance Corp. of Am. v. Gallagher, 267 F.3d 1228, 1236 (11th Cir. 2001).

           As Plaintiffs have conceded, and as this Court recognized in its order dismissing Plaintiffs’

    initial innovator-liability claims, a state’s law cannot apply to a defendant’s out-of-state conduct

    if the state could not assert personal jurisdiction over that defendant in one of its own courts. See

    Dkt. 2516 at 22 (noting Plaintiffs’ concession that “the same personal jurisdictional analyses apply

    to Defendants’ due process arguments directed to legislative jurisdiction”). It follows that, just as

    there are insufficient contacts between the Brand-Name Manufacturers and California or

    Massachusetts to support specific jurisdiction in those states in an innovator-liability context, there

    are insufficient contacts to support the extraterritorial application of California or Massachusetts

    law in any forum. See id. at 22–23 (holding that “for the same reasons that Plaintiffs failed to

    establish a prima facie case of specific personal jurisdiction . . . Plaintiffs have not established


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    sufficient minimum contacts between Defendants and the states of Massachusetts or California, such

    that neither state may apply their substantive law extraterritorially in accordance with the Due Process

    Clause”).4

    III.   Innovator-Liability Claims Against Patheon Manufacturing Services Should Be
           Dismissed For Failure To State A Claim.

           Patheon Manufacturing Services is the only Brand-Name Manufacturer named in the

    AMPIC that may be subject to general jurisdiction in Massachusetts based on the citizenship of its

    sole member Thermo Fisher Scientific, Inc. See AMPIC ¶ 36.5 The innovator-liability claims

    against Patheon nonetheless fail as a matter of law because the AMPIC does not allege that Patheon

    ever “control[led] the contents of the label on [the] generic drug.” Rafferty v. Merck & Co., 92

    N.E.3d 1205, 1219 (Mass. 2018).          The sole premise of an innovator-liability claim is the

    requirement that generic companies copy the brand-name label, so that the brand-name company

    is effectively responsible for the contents of the generic label. See id.; T.H. v. Novartis Pharm.

    Corp., 407 P.3d 18, 31 (Cal. 2017). As the AMPIC alleges, Patheon simply “manufactured the

    finished drug product” for Sanofi, which controlled the label for Zantac from 2017 to 2019. See

    AMPIC ¶¶ 254–55. Sanofi merely contracted with—and was not a corporate affiliate of—


    4
      The Court observed in its order that a choice-of-law analysis will also ask “the precise question
    that must be considered in a due process challenge to legislative jurisdiction . . . ‘that [a] State
    must have a significant contact or significant aggregation of contracts, creating state interests, such
    that its choice of law is neither arbitrary nor fundamentally unfair.’” Dkt. 2516 at 22 (quoting Am.
    Charities for Reasonable Fundraising Reg., Inc., 221 F.3d at 1216). Thus, for the same reasons
    that California and Massachusetts lack specific and legislative jurisdiction over the innovator-
    liability claims, the choice of either state’s law would violate the Due Process Clause.
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      Whether the citizenship of Thermo Fisher Scientific, Inc. confers general jurisdiction over
    Patheon in Massachusetts is itself the subject of disputed law. See Carruth v. Michot, 2015 WL
    6506550, at *7 (W.D. Tex. Oct. 26, 2015) (holding that the court “may not exercise general
    personal jurisdiction over [an LLC] based solely on the citizenship of one of its members” and that
    “the Court must decide whether [the members] have sufficient contacts with the state of Texas to
    support the exercise of personal jurisdiction”).

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    Patheon. See AMPIC ¶¶ 36, 39. Patheon therefore is not a proper innovator-liability defendant

    because it never had responsibility for the label that Plaintiffs allege was deficient.

                                              CONCLUSION

           For the foregoing reasons, the Brand-Name Manufacturers respectfully ask this Court to

    dismiss with prejudice all innovator-liability claims asserted by Plaintiffs (Counts XII and XIII

    of the AMPIC).


    Dated: March 24, 2021                          Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing was filed on March 24, 2021 using the Court’s

    CM/ECF system, which will provide automatic notification to all counsel of record.


                                                        /s/ Mark Cheffo
                                                        Mark S. Cheffo
